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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


                                         :
SUSAN BYRNE,                             :      CIVIL CASE NO.: 3:17-cv-01104-VLB
    Plaintiff                            :
                                         :
v.                                       :
                                         :
YALE UNIVERSITY,                         :
     Defendant                           :      APRIL 7, 2021
                                         :

                    CONSENT MOTION FOR EXTENSION OF TIME

        Pursuant to the Federal Rules of Civil Procedure and Local Rule 7 of this

Court, Plaintiff, Susan Byrne, by and through her attorneys, hereby moves for an

extension of time to submit the Joint Trial Memorandum. Plaintiff is seeking an

extension of time of fourteen (14) days up to and including April 27, 2021 to

submit the Joint Trial Memorandum.


     In support of this Motion, Plaintiff states the following:


     1. On December 27, 2020 this Court issued an order (Doc. 142) setting forth a

        deadline of April 13, 2021 to file the parties’ supplemental joint trial

        memorandum.

     2. The parties have made good progress with settlement negotiations and

        hope to be able to resolve the remaining issues prior to April 27, 2021.

     3. Defendant’s counsel, David Salazar-Austin, consents to this motion.

     4. This is Plaintiff’s first Motion for Extension of these deadlines.
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      WHEREFORE, for the reasons set forth above, Plaintiff respectfully requests

that this Motion for Extension of Time be granted.



                                       PLAINTIFF,
                                       SUSAN BYRNE

                                 By:   /s/ Claire M. Howard
                                       Claire M. Howard (ct29654)
                                       Madsen, Prestley & Parenteau, LLC
                                       402 Asylum Street
                                       Hartford, CT 06103
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                           CERTIFICATION OF SERVICE

       I hereby certify that on this 7th day of April, 2021, a copy of the foregoing
Motion for Extension of Time, was filed electronically [and served by mail on
anyone unable to accept electronic filing]. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system [or by mail
to anyone unable to accept electronic filing]. Parties may access this filing
through the Court’s system.

                                       /s/ Claire M. Howard
                                        Claire M. Howard




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